        Case 2:15-cr-00185-TLN Document 26 Filed 03/15/16 Page 1 of 2


     Bruce Locke (#177787)

     Moss & Locke
 2   701 University Ave, Ste 100
 3   Sacramento, CA 95825
 4   916-569-0667
 5   Attorneys for Sharice Williams
 6                                    UNITED STATES DISTRICT COURT
 7                             EASTERN DISTRICT OF CALIFORNIA
 8

 9

10          UNITED STATES,
                                                    No. 2:15-CR-185 TLN
11                            Plaintiff,

12                  v.                              STIPULATION AND ORDER TO

13          SHARICE WILLIAMS, et. al,.              CONTINUE THE STATUS CONFERENCE

14                            Defendant.            TO MAY 12, 2016

15

16

17

18

19

20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the status conference presently set for March 17, 2016

23   at 9:30 a.m., should be continued to May 12, 2016 at 9:30 a.m., and that time under the Speedy

24   Trial Act should be excluded from March 17, 2016 through May 12, 2016.

25          The reason for the continuance is that defense counsel needs additional time to conduct
     investigation and review the discovery and discuss the proposed plea agreement with Ms.
26
     Williams and to conduct plea negotiations. The discovery includes several video tapes. The
27

28                                                     1
        Case 2:15-cr-00185-TLN Document 26 Filed 03/15/16 Page 2 of 2


     exclusion of time is also necessary to ensure continuity of counsel. Accordingly, the time
     between March 17, 2016 and May 12, 2016 should be excluded from the Speedy Trial calculation

 2   pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense

 3   preparation. The parties stipulate that the ends of justice served by granting this continuance

 4   outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
     §3161(h)(7)(A). Mr. Yang has authorized Mr. Locke to sign this pleading for him.
 5

 6          Date: March 14, 2016                         /s/ Bruce Locke
 7                                                      BRUCE LOCKE
                                                        Attorney for Sharice Williams
 8

 9
            Date: March 14, 2016                         /s/ Bruce Locke
10
                                                        For ROGER YANG
11                                                      Assistant United States Attorney

12

13          IT IS SO ORDERED.
14

15          Dated: March 14, 2016
                                                       Troy L. Nunley
16                                                     United States District Judge

17

18

19

20

21

22

23

24

25

26

27

28                                                     2
